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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

IRENE KRISTAL, Individually and On          Case No.
Behalf of All Others Similarly Situated,
                                            CLASS ACTION COMPLAINT FOR
                              Plaintiff,    VIOLATIONS OF THE FEDERAL
                                            SECURITIES LAWS
               v.

MESOBLAST LIMITED, SILVIU                   JURY TRIAL DEMANDED
ITESCU, and JOSH MUNTNER,

                              Defendants.
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       Plaintiff Irene Kristal (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through her attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, her counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Mesoblast

Limited (“Mesoblast” or the “Company”) with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by Mesoblast; and (c) review of other publicly available information concerning

Mesoblast.

                       NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired Mesoblast securities between April 16, 2019 and October 1, 2020, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.       Mesoblast develops allogeneic cellular medicines using its proprietary

mesenchymal lineage cell therapy platform. Its lead product candidate, RYONCIL (remestemcel-

L), is an investigational therapy comprising mesenchymal stem cells derived from bone marrow.

In February 2018, the Company announced that remestemcel-L met its primary endpoint in a Phase

3 trial to treat children with steroid refractory acute graft versus host disease (“aGVHD”).

       3.       In early 2020, Mesoblast completed its rolling submission of its Biologics License

Application (“BLA”) with the FDA to secure marketing authorization to commercialize

remestemcel-L for children with steroid refractory aGVHD.

       4.       On August 11, 2020, the FDA released briefing materials for its Oncologic Drugs

Advisory Committee (“ODAC”) meeting to be held on August 13, 2020. Therein, the FDA stated


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that Mesoblast provided post hoc analyses of other studies “to further establish the appropriateness

of 45% as the null Day-28 ORR” for its primary endpoint. The briefing materials stated that, due

to design differences between these historical studies and Mesoblast’s submitted study, “it is

unclear that these study results are relevant to the proposed indication.”

       5.       On this news, the Company’s share price fell $6.09, or approximately 35%, to close

at $11.33 per share on August 11, 2020, on unusually heavy trading volume.

       6.       On October 1, 2020, Mesoblast disclosed that it had received a Complete Response

Letter (“CRL”) from the FDA regarding its marketing application for remestemcel-L for treatment

of SR-aGVHD in pediatric patients. According to the CRL, the FDA recommended that the

Company “conduct at least one additional randomized, controlled study in adults and/or children

to provide further evidence of the effectiveness of remestemcel-L for SR-aGVHD.” The CRL also

“identified a need for further scientific rationale to demonstrate the relationship of potency

measurements to the product’s biologic activity.”

       7.       On this news, the Company’s share price fell $6.56, or 35%, to close at $12.03 per

share on October 2, 2020, on unusually heavy trading volume.

       8.       Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that

comparative analyses between Mesoblast’s Phase 3 trial and three historical studies did not support

the effectiveness of remestemcel-L for steroid refractory aGVHD due to design differences

between the four studies; (2) that, as a result, the FDA was reasonably likely to require further

clinical studies; (3) that, as a result, the commercialization of remestemcel-L in the U.S. was likely

to be delayed; and (4) that, as a result of the foregoing, Defendants’ positive statements about the




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Company’s business, operations, and prospects were materially misleading and/or lacked a

reasonable basis.

        9.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                   JURISDICTION AND VENUE

        10.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        11.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        12.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.

        13.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

        14.      Plaintiff Irene Kristal, as set forth in the accompanying certification, incorporated

by reference herein, purchased Mesoblast securities during the Class Period, and suffered damages




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as a result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

       15.     Defendant Mesoblast is incorporated under the laws of Australia with its principal

executive offices located in Melbourne, Australia. Mesoblast’s American Depositary Shares

(“ADSs” or “shares”) trade on the NASDAQ exchange under the symbol “MESO.”

       16.     Defendant Silviu Itescu (“Itescu”) was the Company’s Chief Executive Officer

(“CEO”) at all relevant times.

       17.     Defendant Josh Muntner (“Muntner”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.

       18.     Defendants Itescu and Muntner (collectively the “Individual Defendants”), because

of their positions with the Company, possessed the power and authority to control the contents of

the Company’s reports to the SEC, press releases and presentations to securities analysts, money

and portfolio managers and institutional investors, i.e., the market. The Individual Defendants

were provided with copies of the Company’s reports and press releases alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions and access to material non-

public information available to them, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the public, and that the

positive representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.




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                                 SUBSTANTIVE ALLEGATIONS

                                                Background

          19.    Mesoblast develops allogeneic cellular medicines using its proprietary

mesenchymal lineage cell therapy platform. Its lead product candidate, RYONCIL (remestemcel-

L), is an investigational therapy comprising mesenchymal stem cells derived from bone marrow.

          20.    On February 21, 2018, Mesoblast announced that the Phase 3 trial for remestemcel-

L in children with steroid refractory aGVHD had met its primary endpoint. Specifically, the

Company issued a press release entitled “Primary Endpoint Successfully Achieved in Mesoblast’s

Phase 3 Cell Therapy Trial for Acute Graft Versus Host Disease,” in which it stated:1

          Mesoblast Limited (Nasdaq:MESO) (ASX:MSB) today announced that the Phase
          3 trial of its allogeneic mesenchymal stem cell product candidate MSC-100-IV
          (remestemcel-L) in children with steroid refractory acute Graft versus Host
          Disease (aGVHD) has successfully met the primary endpoint of Day 28 overall
          response (OR, complete + partial response) rate.

          In the 55 children enrolled in Mesoblast’s open-label Phase 3 trial conducted across
          32 sites in the United States, the Day 28 OR rate was 69%, a statistically significant
          increase compared to the protocol-defined historical control rate of 45%
          (p=0.0003).

          Among patients who received at least one treatment infusion and were followed up
          for 100 days (n=50), the mortality rate was 22%. This is in contrast to Day 100
          mortality rates as high as 70% in patients who fail to respond to initial steroid
          therapy1,2,3.

          The treatment regimen of remestemcel-L was well tolerated and the incidence of
          adverse events was consistent with that expected from the underlying disease state
          and in line with previous remestemcel-L use.

          These safety and efficacy results are consistent with Mesoblast’s prior experience
          using remestemcel-L in 241 children treated under an expanded access protocol,
          where Day 28 OR correlated with Day 100 survival4.

                                            *       *        *




1
    Unless otherwise stated, all emphasis hereinafter is added.


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       Based on interactions with the FDA, Mesoblast believes that successful results
       from the completed Phase 3 trial, together with Day 180 safety and quality of life
       parameters in these patients, may provide sufficient clinical evidence for filing
       for accelerated approval of remestemcel-L in the United States. The Phase 3 trial
       is being conducted under a FDA Investigational New Drug Application
       (NCT#02336230).

                              Materially False and Misleading
                         Statements Issued During the Class Period

       21.    The Class Period begins on April 16, 2019. On that day, Mesoblast announced that

the FDA agreed that the Company can “submit on a rolling basis” a BLA for remestemcel-L in

children with SR-aGHVD. This process would “provide opportunity for ongoing and frequent

communication, and during this process the Company expects it will be able to adequately address

any substantial matters raised by the FDA.”

       22.    On May 29, 2019, Mesoblast announced that it had filed the first component of its

rolling submission of its BLA for remestemcel-L for SR-aGVHD. The Company repeated that this

“rolling process will provide opportunity for ongoing communication, and during this process the

Company expects it will be able to adequately address any substantial matters raised by the FDA.”

       23.    On August 29, 2019, Mesoblast announced its operational progress and financial

highlights for the fiscal year ended June 30, 2019 in a press release. Therein, regarding the BLA

and market opportunity for remestemcel-L, the Company stated, in relevant part:

       Graft Versus Host Disease

       There are more than 30,000 allogeneic bone marrow transplants performed
       annually worldwide, primarily in patients being treated for blood cancers. The most
       severe forms of the disease, Grades C/D or III/IV, are frequently refractory to
       steroid therapy and associated with mortality rates as high as 90%.

       There are no approved therapies for aGVHD in the United States for children under
       12.

       In Mesoblast’s Phase 3 trial of 55 children with aGVHD - 89% of whom had Grade
       C/D disease - treatment with remestemcel-L resulted in a six-month survival of
       69%. In addition, achievement of an Overall Response at Day 28, which occurred



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       in 69% of patients, predicted highest survival at Day 100 and Day 180, which was
       85% and 79%, respectively. The trial successfully met its primary endpoint of
       increased Day 28 Overall Response compared with a protocol-defined historical
       control rate of 45% (p=0.0003). These data are consistent with prior results from
       an Expanded Access Program in 241 children where remestemcel-L was used as
       salvage therapy after failure of steroids and other agents.

       Remestemcel-L is administered to patients in a series of intravenous infusions.
       Remestemcel-L has demonstrated immunomodulatory properties to counteract the
       inflammatory processes that are implicated in aGVHD by down-regulating the
       production of pro-inflammatory cytokines, increasing production of anti-
       inflammatory cytokines, and enabling recruitment of naturally occurring anti-
       inflammatory cells to involved tissues.

       Potential United States Market for Remestemcel-L

       The product adoption and reimbursement seen in the Japan GVHD market for
       TEMCELL informs Mesoblast’s United States commercial strategy for
       remestemcel-L in aGVHD. The Company believes that the United States
       addressable market opportunity for remestemcel-L in aGVHD in children and
       adults is approximately eight times larger than Japan given differences in
       population size, incidence of aGVHD, and relative pharmacoeconomics.

       Mesoblast is preparing for potential product launch in the United States of
       remestemcel-L for aGVHD in children. Health economics and outcomes research
       data presented by Mesoblast at the 24th European Hematology Association
       Congress indicated that pediatric aGVHD may result in significant deterioration in
       quality of life and additional direct healthcare costs of an average of up to
       US$500,000 per patient. This represents a significant commercial opportunity for
       Mesoblast’s first potential product launch in the United States.

       Filing for FDA approval

       The rolling Biologics License Application (BLA) submission to the FDA is
       underway and we expect to complete the filing in CY2019. Remestemcel-L has
       received Fast Track designation for aGVHD and under this designation Mesoblast
       can request a priority review once its BLA filing is accepted by the FDA.

       Commercial Activities for Potential Launch in United States

       In line with our expected timelines for potential United States launch of
       remestemcel-L, Mesoblast has increased expenditure on commercial
       manufacturing activities and commercial team ramp up in parallel with its FDA
       filing activities.

(Footnotes omitted.)




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       24.    On January 2, 2020, the Company announced that it had submitted clinical efficacy

and safety data to the FDA in connection with its BLA for remestemcel-L. In a press release,

Mesoblast stated:

       Mesoblast Limited (ASX:MSB; Nasdaq: MESO), global leader in cellular
       medicines for inflammatory diseases, announced that the United States Food and
       Drug Administration (US FDA) has confirmed receipt of Mesoblast’s filing of
       clinical efficacy and safety data for remestemcel-L in its rolling Biologics License
       Application (BLA) for the treatment of children with steroid-refractory acute graft
       versus host disease (SR-aGVHD). The final module will be filed during January,
       and Mesoblast will request an expedited FDA review of the BLA under the product
       candidate’s existing Fast Track designation. If approved, remestemcel-L is planned
       to be launched in the US in 2020.

       The clinical submission included analyses of 309 children with SR-aGVHD who
       have received remestemcel-L across three separate studies. In addition, Mesoblast
       provided new data in control pediatric subjects from the contemporaneous database
       of the Mount Sinai Acute GVHD International Consortium (MAGIC) to provide an
       unbiased and independent estimate of response rates and outcomes in matched
       pediatric control patients treated with institutional standard of care.

       The results of the comparative analysis between Mesoblast’s open-label Phase 3
       study and contemporaneous controls receiving institutional standard of care
       demonstrate the effectiveness of remestemcel-L in this patient population, with
       particular efficacy and survival benefit in patients with the most severe forms of
       aGVHD. These conclusions are supported by prior results from an Expanded
       Access Program in 241 children where remestemcel-L was used as salvage therapy
       after failure of steroids and other agents.

       25.    On February 3, 2020, Mesoblast announced that “it has submitted its completed”

BLA with the FDA. The Company “filed the final module of the rolling BLA submission, covering

quality control and manufacturing, with the FDA on January 31.”

       26.    On February 24, 2020, Mesoblast issued a press release entitled “Consistent

Outcomes Using RyoncilTM as First-Line Treatment or Salvage Therapy in 309 Children With

Steroid-Refractory Acute GVHD.” Therein, the Company stated:

       Mesoblast Limited (Nasdaq:MESO; ASX:MSB) today announced that aggregated
       results from 309 children treated with Ryoncil™ (remestemcel-L) were presented
       at the American Society for Transplantation Cellular Therapy and the Center for
       International Blood & Bone Marrow Transplant Research (TCT) meeting in



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       Orlando, Florida on February 22. The data showed that treatment with RYONCIL
       across three separate trials resulted in consistent treatment responses and survival
       outcomes in children with steroid-refractory acute graft versus host disease (SR-
       aGVHD).

       Key findings and conclusions were:

                Consistent safety and efficacy were observed across the continuum from
                 first-line treatment after steroid failure through the most challenging
                 patients who received RYONCIL as salvage after exhausting all other
                 options.

                In the aggregated dataset, 204 of the 309 (66%) patients achieved an overall
                 response at Day 28 following a four-week course of RYONCIL.

                Results were consistent across all grades of disease, including most severe
                 (IBMTR Grade C/D or Glucksberg Grade 3/4).

                In the most severe patients (Grade C/D), who accounted for 82% of all
                 treated patients, Day 28 overall response was 65%.

                Overall response at Day 28 was strongly predictive of survival at Day 100
                 and Day 180.

                Day 28 responders were more than twice as likely to survive as non-
                 responders (84% vs 39% at Day 100, and 83% vs 38% at Day 180).

                RYONCIL was well tolerated with no infusion-related toxicity and no
                 identified safety concerns.

       Mesoblast Chief Medical Officer Dr Fred Grossman said: “These aggregated data
       from three studies demonstrate consistent efficacy and safety of RYONCIL in
       children suffering from steroid refractory acute graft versus host disease. If
       approved, RYONCIL has the potential to be an effective and safe therapy to
       improve survival outcomes in the most vulnerable population of children with
       severe forms of this disease who can have mortality rates as high as 90 percent.”

       27.       The above statements identified in ¶¶ 21-26 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) that comparative

analyses between Mesoblast’s Phase 3 trial and three historical studies did not support the

effectiveness of remestemcel-L for steroid refractory aGVHD due to design differences between




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the four studies; (2) that, as a result, the FDA was reasonably likely to require further clinical

studies; (3) that, as a result, the commercialization of remestemcel-L in the U.S. was likely to be

delayed; and (4) that, as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects were materially misleading and/or lacked a

reasonable basis.

                            Disclosures at the End of the Class Period

        28.     On August 11, 2020, the FDA released briefing materials for its Oncologic Drugs

Advisory Committee (“ODAC”) meeting to be held on August 13, 2020. Therein, the FDA stated

that Mesoblast provided post hoc analyses of other studies “to further establish the appropriateness

of 45% as the null Day-28 ORR” for its primary endpoint. The briefing materials stated that, due

to design differences between these historical studies and Mesoblast’s submitted study, “it is

unclear that these study results are relevant to the proposed indication.” Specifically, the briefing

materials stated, in relevant part:

        The Applicant submitted the results of Protocol MSB-GVHD0011 to support their
        marketing application. Protocol MSB-GVHD001 was a prospective, multicenter,
        single-arm trial of remestemcel-L for treatment of pediatric patients with SR-
        aGVHD grades B-D (excluding grade B skin alone). The primary endpoint of the
        trial was the proportion of patients in the full analysis set (FAS) with overall
        response (defined as complete response (CR) + partial response (PR)) at 28 days
        after initiation of therapy. The protocol was designed to determine if the Day28
        overall response rate (ORR) exceeded 45%. The study hypothesis and the null
        ORR were prespecified in the statistical analysis plan (SAP); however, the
        justification provided for the null rate in the Statistical Analysis Plan (SAP) was
        that it was 20 percentage points lower than that achieved with remestemcel-L in
        post hoc analyses of the pediatric subgroups in other protocols of remestemcel-L
        for treatment of aGVHD.

        To further establish the appropriateness of 45% as the null Day-28 ORR, the
        Applicant also provided post hoc analyses of ORR in patients with SR-aGVHD
        treated with standard care therapies in the pediatric subgroup in the control arm of
        Protocol 280, pediatric patients with SRaGVHD in the Mount Sinai Acute GVHD
        International Consortium (MAGIC) database, and patients with newly-diagnosed
        aGVHD who failed treatment with steroids but continued on steroids alone in
        Protocol 265.


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                                              *     *    *

       Additional data were provided from Protocol 265, 275 and 280. In comparison to
       Protocol MSB-GVHD001, Protocols 265, 275 and 280 have substantial differences in
       the patient populations, trial design, study conduct, and primary endpoint evaluations:

                Difference in primary endpoints CR sustained > 28 days versus ORR at Day
                 28

                Differences in populations

                    o ages (pediatric versus adult subjects)

                    o disease state (newly diagnosed aGVHD versus SR-aGVHD)

                    o disease stage (allowing grade B skin-only disease)

                Difference in treatment regimens

                The impact of concomitant medications (positively or negatively) on
                 efficacy outcomes in Studies 280 and 275, particularly in light of the
                 unknown mechanism of action of remestemcel-L.

                Limitations in reporting of DOR and variability in duration of follow-up
                 (Day 180 versus Day 90)

       Due to these design differences, it is unclear that these study results are relevant
       to the proposed indication for use of remestemcel-L as a single-agent treatment
       of SR-aGVHD in pediatric patients, but it raises the uncertainties associated with
       interpreting the observed efficacy outcomes between studies.

       29.       On this news, the Company’s share price fell $6.09, or approximately 35%, to close

at $11.33 per share on August 11, 2020, on unusually heavy trading volume.

       30.       On August 14, 2020, the Company announced that the ODAC voted 9-to-1 in favor

that “the available data support the efficacy of remestemcel-L (RYONCIL™) in pediatric patients

with steroid-refractory acute graft versus host disease (SR-aGVHD).” It stated that “[a]lthough the

FDA will consider the recommendation of the [ODAC], the final decision regarding the approval

of the product is made solely by the FDA, and recommendations by the panel are non-binding.”

       31.       On October 1, 2020, Mesoblast disclosed that receipt of the CRL regarding its BLA

for remestemcel-L for treatment of SR-aGVHD in pediatric patients. According to the CRL, the



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FDA recommended that the Company “conduct at least one additional randomized, controlled

study in adults and/or children to provide further evidence of the effectiveness of remestemcel-L

for SR-aGVHD.” The CRL also “identified a need for further scientific rationale to demonstrate

the relationship of potency measurements to the product’s biologic activity.” Specifically, the press

release stated, in relevant part:

        Mesoblast Limited (Nasdaq:MESO; ASX:MSB), global leader in allogeneic
        cellular medicines for inflammatory diseases, announced today that the US Food
        and Drug Administration (FDA) has issued a Complete Response Letter to its
        Biologics License Application (BLA) for remestemcel-L for the treatment of
        pediatric steroid-refractory acute graft versus host disease (SR-aGVHD). While the
        Oncologic Drugs Advisory Committee (ODAC)1 of the FDA voted 9:1 that the
        available data support the efficacy of remestemcel-L in pediatric patients with SR-
        aGVHD, the FDA recommended that Mesoblast conduct at least one additional
        randomized, controlled study in adults and/or children to provide further
        evidence of the effectiveness of remestemcel-L for SR-aGVHD. As there are
        currently no approved treatments for this life-threatening condition in children
        under 12, Mesoblast will urgently request a Type A meeting with the FDA,
        expected within 30 days, to discuss a potential accelerated approval with a post-
        approval condition for an additional study.

                                          *       *       *

        The FDA also identified a need for further scientific rationale to demonstrate the
        relationship of potency measurements to the product’s biologic activity. Assays
        measuring the potency of remestemcel-L will continue to be refined to provide
        further scientific rationale for its use in severe inflammatory diseases with high
        mortality risk, such as SR-aGVHD and COVID-19 ARDS.

        32.     On this news, the Company’s share price fell $6.56, or 35%, to close at $12.03 per

share on October 2, 2020, on unusually heavy trading volume.

                                CLASS ACTION ALLEGATIONS

        33.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Mesoblast securities between April 16, 2019 and October 1, 2020, inclusive,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the




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officers and directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

        34.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Mesoblast’s shares actively traded on the NASDAQ.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

thousands of members in the proposed Class. Millions of Mesoblast shares were traded publicly

during the Class Period on the NASDAQ. Record owners and other members of the Class may be

identified from records maintained by Mesoblast or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        35.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        36.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

        37.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;




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               (b)     whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Mesoblast; and

               (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

       38.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                              UNDISCLOSED ADVERSE FACTS

       39.     The market for Mesoblast’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Mesoblast’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired Mesoblast’s securities

relying upon the integrity of the market price of the Company’s securities and market information

relating to Mesoblast, and have been damaged thereby.

       40.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Mesoblast’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Mesoblast’s business, operations, and prospects as alleged herein.




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       41.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Mesoblast’s financial well-being and prospects. These material misstatements

and/or omissions had the cause and effect of creating in the market an unrealistically positive

assessment of the Company and its financial well-being and prospects, thus causing the

Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

members of the Class purchasing the Company’s securities at artificially inflated prices, thus

causing the damages complained of herein when the truth was revealed.

                                       LOSS CAUSATION

       42.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       43.     During the Class Period, Plaintiff and the Class purchased Mesoblast’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       44.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced


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in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Mesoblast, their control over,

and/or receipt and/or modification of Mesoblast’s allegedly materially misleading misstatements

and/or their associations with the Company which made them privy to confidential proprietary

information concerning Mesoblast, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

       45.     The market for Mesoblast’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Mesoblast’s securities traded at artificially inflated prices during the Class Period. On

August 17, 2020, the Company’s share price closed at a Class Period high of $19.81 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of Mesoblast’s securities and market information

relating to Mesoblast, and have been damaged thereby.

       46.     During the Class Period, the artificial inflation of Mesoblast’s shares was caused

by the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Mesoblast’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of Mesoblast and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted



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in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       47.     At all relevant times, the market for Mesoblast’s securities was an efficient market

for the following reasons, among others:

               (a)     Mesoblast shares met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, Mesoblast filed periodic public reports with the SEC

and/or the NASDAQ;

               (c)     Mesoblast regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     Mesoblast was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       48.     As a result of the foregoing, the market for Mesoblast’s securities promptly digested

current information regarding Mesoblast from all publicly available sources and reflected such

information in Mesoblast’s share price. Under these circumstances, all purchasers of Mesoblast’s

securities during the Class Period suffered similar injury through their purchase of Mesoblast’s

securities at artificially inflated prices and a presumption of reliance applies.

       49.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),




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because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       50.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of

Mesoblast who knew that the statement was false when made.




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                                          FIRST CLAIM

                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        51.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        52.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Mesoblast’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        53.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Mesoblast’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        54.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Mesoblast’s financial

well-being and prospects, as specified herein.

        55.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course


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of conduct as alleged herein in an effort to assure investors of Mesoblast’s value and performance

and continued substantial growth, which included the making of, or the participation in the making

of, untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Mesoblast and its business operations and future prospects in

light of the circumstances under which they were made, not misleading, as set forth more

particularly herein, and engaged in transactions, practices and a course of business which operated

as a fraud and deceit upon the purchasers of the Company’s securities during the Class Period.

       56.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       57.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and




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for the purpose and effect of concealing Mesoblast’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       58.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Mesoblast’s securities was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of the

market in which the securities trades, and/or in the absence of material adverse information that

was known to or recklessly disregarded by Defendants, but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired

Mesoblast’s securities during the Class Period at artificially high prices and were damaged thereby.

       59.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Mesoblast was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Mesoblast securities,

or, if they had acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.




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        60.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        61.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM

                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        62.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        63.     Individual Defendants acted as controlling persons of Mesoblast within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements which

Plaintiff contends are false and misleading. Individual Defendants were provided with or had

unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were

issued and had the ability to prevent the issuance of the statements or cause the statements to be

corrected.

        64.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the




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particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        65.    As set forth above, Mesoblast and Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)    Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.




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Dated: October 8, 2020              GLANCY PRONGAY & MURRAY LLP


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                     SWORN CERTIFICATION OF PLAINTIFF


               MESOBLAST LIMITED SECURITIES LITIGATION


  I, Irene Kristal, certify that:

  1.      I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
          Plaintiff motion on my behalf.

  2.      I did not purchase the Mesoblast Limited securities that are the subject of this
          action at the direction of plaintiff’s counsel or in order to participate in any private
          action arising under this title.

  3.      I am willing to serve as a representative party on behalf of a class and will testify
          at deposition and trial, if necessary.

  4.      My transactions in Mesoblast Limited securities during the Class Period set forth
          in the Complaint are as follows:

          (See attached transactions)

  5.      I have not sought to serve, nor served, as a representative party on behalf of a
          class under this title during the last three years, except for the following:


  6.      I will not accept any payment for serving as a representative party, except to
          receive my pro rata share of any recovery or as ordered or approved by the court,
          including the award to a representative plaintiff of reasonable costs and expenses
          (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.



  10/6/2020
________________                          _________________________________________
      Date                                             Irene Kristal
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